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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

                                                   )
  SIU SHONG TSANG,                                 )
                                                   )
                    Plaintiff,                     )        Civil Action No. 1:23-cv-6614
          v.                                       )                (MMR)(JIC)
                                                   )
  THE INDIVIDUALS,                                 )
  CORPORATIONS, LIMITED                            )
  LIABILITY COMPANIES,                             )       JURY TRIAL DEMANDED
  PARTNERSHIPS, AND                                )
  UNINCORPORATED ASSOCIATIONS                      )
  IDENTIFIED ON SCHEDULE A TO                      )
  THE COMPLAINT,                                   )
                                                   )
                    Defendants.                    )



                    PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff hereby

dismisses with prejudice all causes of action in the Amended Complaint against the Defendants

identified below.

                      Doe No.     Store Name

                      DOE 5       BIU BLASTER
                      DOE 15      GIFTARC US
                      DOE 23      JFGG-US
                      DOE 33      MIJAFARON
                      DOE 36      ORANDNOT
                      DOE 54      Zexuan flagship store
                      DOE 68      Dazzcool
                      DOE 73      FidgetBox
                      DOE 76      GERUI
                      DOE 81      JoyShoot
                      DOE 85      KIDSWISH


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                      DOE 88        kooer toys
                      DOE 100       pokiiulk
                      DOE 103       SBG
                      DOE 105       Tai Chi Cat
                      DOE 108       TheCamille
                      DOE 109       THG
                      DOE 118       ZhenDuo
                      DOE 119       ZHENDUO Toys


       Each party shall bear their own attorney’s fees and costs. Defendants have not filed an

answer or a motion for summary judgment in this matter. Therefore, it is respectfully submitted

that dismissal under Rule 41(a)(1)(A)(i) is appropriate.

Date: November 29, 2023                              Respectfully submitted,

                                                     /s/ Theodore J. Chiacchio
                                                     Theodore J. Chiacchio (Bar No. 6332547)
                                                     CHIACCHIO IP, LLC
                                                     307 North Michigan Avenue, Suite 2011
                                                     Chicago, Illinois 60601
                                                     Tel: (312) 815-2384
                                                     Email: tchiacchio@chiacchioip.com

                                                     By: /s/ Shengmao Mu
                                                     Shengmao (Sam) Mu, NY #5707021
                                                     WHITEWOOD LAW PLLC
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                                                     Email: smu@whitewoodlaw.com

                                                     Counsel for Plaintiff




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                              CERTIFICATE OF SERVICE

      I hereby certify that on November 29, 2023, I electronically filed the foregoing with the

Court using the CM/ECF system.


                                                        /s/Theodore J. Chiacchio_______
                                                           Theodore J. Chiacchio




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